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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

NANCY KEELING,                                 §
                                               §
               Plaintiff,                      §
                                               §
.v.                                            §   CIVIL ACTION NO. 2:17-CV-00171-JRG
                                               §
ANADARKO PETROLEUM                             §
CORPORATION,                                   §
                                               §
               Defendant.                      §

                                             ORDER

       Pursuant to the Stipulation of Dismissal filed by the parties herein (ECF Doc. No. 17), the

claims asserted in this lawsuit have been resolved. Accordingly, it is therefore:

       ORDERED that all claims asserted herein are dismissed with prejudice to the refiling of

same, with each party to bear her / its own costs.
       SIGNED this 3rd day of January, 2012.
        SIGNED this 1st day of November, 2017.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE




ORDER – Solo Page
